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                                                                                     Friday, 01 March, 2019 10:09:01 AM
                                                                                           Clerk, U.S. District Court, ILCD

                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE CENTRAL DISTRICT OF ILLINOIS
                                     PEORIA DIVISION

Steven Cole,                                                  )
                                                              )
                 Plaintiff,                                   )
                                                              )
                 v.                                           )        Case No. 15-1292
                                                              )
Detective Shawn Meeks, et al.                                 )
                                                              )
                 Defendants.                                  )

                              MEMORANDUM OPINION AND ORDER

         This matter is now before the Court on Plaintiff Steven Cole’s Motion to Reconsider

Dismissal of Count of Second Amended Complaint Alleging Fabrication of Evidence. (Doc. 78).

For the reasons set forth herein, the Court DENIES Plaintiff’s Motion.

                                        PROCEDURAL HISTORY

         On July 15, 2015, Plaintiff filed his Complaint against Defendants Shawn Meeks and the

City of Peoria pursuant to 42 U.S.C. § 1983 and Illinois state law. 1 (Doc. 1). Plaintiff alleged that

as a result of misconduct and abuse by law enforcement officials, he was wrongfully charged,

prosecuted, and convicted of crimes he did not commit.

         On January 26, 2016, Plaintiff filed his First Amended Complaint. (Doc. 31). In Count II,

which is the subject of the instant Motion, Plaintiff alleged fabricated evidence was used to secure

his wrongful conviction. Id. at pp. 12-13. On February 8, 2016, Defendants filed a Motion to

Dismiss under Fed. R. Civ. P. 12(b)(6). (Doc. 33). They argued, inter alia, that Count II should be

dismissed because the alleged fabricated evidence was not used against Plaintiff at trial, nor did it



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  The original Complaint was filed against Detective Shawn Meeks, Leigh Rittenhouse, Assistant State’s Attorney
Jodi Hoos (now Judge Hoos), State’s Attorney Jerry Brady, the City of Peoria, and the Illinois Department of Children
and Family Services. Only Meeks and the City of Peoria remain as Defendants.

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deprive him of a fair trial. (Id. at p. 3, ¶ 7). On April 21, 2016, this Court dismissed Plaintiff’s

fabrication of evidence claim because Plaintiff failed to allege the false police reports were

“introduced” or “admitted” at trial. (Doc. 38, pp. 17-18).

       On December 1, 2016, Plaintiff filed a Second Amended Complaint and again alleged

fabrication of evidence. (Doc. 48, pp. 14-15, ¶¶ 113-122). Plaintiff alleged the fabricated evidence

was “used to indict and arrest” him, and “was indirectly used at trial” to secure his conviction. Id.

Defendants again moved to dismiss Count II. (Doc. 51).

       On January 27, 2017, this Court dismissed the fabrication claim with prejudice and stated

a due process violation could only stem from the admission or introduction of the false police

reports at Plaintiff’s trial. (Doc. 54, p. 7). The Court relied on Whitlock v. Brueggemann, 682 F.3d

567 (7th Cir. 2012) and Fields v. Wharrie, 740 F.3d 1107 (7th Cir. 2014), which both held

fabricated evidence supports a due process violation when introduced at trial. Id.

       On November 27, 2017, Defendants filed a Motion for Summary Judgment. (Doc. 64). On

September 28, 2018, the Court granted the motion on Plaintiff’s withholding of exculpatory

evidence claim and denied summary judgment on Plaintiff’s state law malicious prosecution,

respondeat superior, and indemnification claims. (Doc. 77).

       On November 27, 2018, Plaintiff filed a Motion to Reconsider the Court’s dismissal of its

fabrication of evidence claim, which was dismissed on January 27, 2017. (Doc. 78). In short,

Plaintiff argues new case law does not require false police reports be admitted at trial to establish

a constitutional violation based on fabricated evidence and requests that Count II be reinstated. Id.

at p. 3. On December 18, 2018, Defendants filed a Response. (Doc. 80).

       On February 8, 2019, Defendants filed a Motion to Cite Additional Authority (Doc. 81).

In their motion, Defendants ask the Court to consider Lewis v. City of Chicago, 914 F.3d 472 (7th



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Cir. 2019), an opinion issued on January 23, 2019, which overruled Hurt v. Wise, 880 F.3d 831

(7th Cir. 2018). Plaintiff did not respond to the motion. On February 26, 2019, the Court granted

Defendants’ motion and considers Lewis as supplemental authority in support of Defendants’

Response to Plaintiff’s Motion to Reconsider.

                                       LEGAL STANDARD

        Before considering Plaintiff’s Motion to Reconsider, it is necessary to identify the authority

for a motion to reconsider and what standard applies. Because a denial of a motion to dismiss is

not a final judgment, a motion to reconsider that decision does not technically fall under Federal

Rule of Civil Procedure 59(e), which addresses motions to alter or amend judgments. Nor does it

fall within the language of Rule 60(b), which provides a procedure for seeking relief from a final

judgment, order, or proceeding. Nonetheless, district courts have inherent power to reconsider non-

final orders before entry of judgment under Rule 54(b). Moses H. Cone Mem’l Hosp. v. Mercury

Constr. Corp., 460 U.S. 1, 12 (1983); Sims v. EGA Prods., Inc., 475 F.3d 865, 870 (7th Cir. 2007).

Rule 54(b) states that an order adjudicating “fewer than all the claims or the rights and liabilities

of fewer than all the parties … may be revised at any time before the entry of a judgment

adjudicating all the claims and all the parties’ rights and liabilities.” Fed. R. Civ. P. 54(b).

        A motion to reconsider “performs a valuable function” if (1) the court has patently

misunderstood a party; (2) the court has made a decision outside the adversarial issues presented

to the court by the parties; (3) the court has made an error not of reasoning but of apprehension;

(4) there has been a controlling or significant change in the law since the submission of the issue

to the court; or (5) there has been a controlling or significant change in the facts since the

submission of the issue to the court. Bank of Waunakee v. Rochester Cheese Sales, Inc., 906 F.2d

1185, 1191 (7th Cir. 1990).



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       “Motions for reconsideration serve a limited function.” Caisse Nationale de Credit v. CBI

Industries, 90 F.3d 1264, 1269 (7th Cir. 1996) (citations omitted). A party moving for

reconsideration has a heavy burden. Id. at 1270. The Seventh Circuit has held that appropriate

issues for reconsideration “rarely arise and the motion to reconsider should be equally as rare.”

Bank of Waunakee, 906 F.2d at 1191. It is not appropriate to use a motion to reconsider to relitigate

arguments the Court previously rejected or to argue issues that could have been raised earlier.

Sigsworth v. City of Aurora, Ill., 487 F.3d 506, 512 (7th Cir. 2007).

                                           DISCUSSION

       Plaintiff moves the Court to reconsider the dismissal of his fabrication of evidence claim,

asserting that Hurt v. Wise, 880 F.3d 831 (7th Cir. 2018), Manuel v. City of Joliet, Ill., 137 S. Ct.

911 (2017), and Patrick v. City of Chicago, 2018 WL 3438942 (N.D. Ill. July 17, 2018), represent

a significant change and/or clarification of the law. (Doc. 78, p. 8).

       I.      Plaintiff’s Motion is Untimely and Unfairly Prejudices the Defendants.

       When reviewing a motion to reconsider, the Court should consider if it was brought in a

timely manner and whether the other parties would be unfairly prejudiced by granting the motion.

Here, Plaintiff’s Motion to Reconsider is untimely and highly prejudicial to Defendants. Plaintiff

seeks reconsideration of an Order entered more than two years ago and provides no compelling

explanation for the delay. A motion to reconsider filed several months after this Court’s Order and

after discovery has closed, dispositive motions have been filed, and a trial date has been set is

untimely. See Franzen v. Ellis Corp., 2004 WL 2535263, *4 (N.D. Ill. Sept. 15, 2004) (a motion

filed several months after the court’s order and after multiple other issues have been presented by

the parties and addressed by the court is untimely).




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       The Court dismissed Plaintiff’s fabrication of evidence claim on January 27, 2017. (Doc.

54). The parties proceeded in discovery on the remaining federal due process destruction of

evidence claim (Count I), and the state law malicious prosecution, respondeat superior, and

indemnification claims (Counts IV, V, and VI). After discovery closed on September 18, 2017,

Defendants filed a Motion for Summary Judgment. On September 28, 2018, the Court ruled on the

motion and set a trial date for April 15, 2019. (Doc. 77; Text Order 11/07/2018).

       At no point did Plaintiff indicate he intended to seek reinstatement of his fabrication of

evidence claim. Plaintiff waited until November 28, 2018, to ask this Court to reconsider the 2017

dismissal of his claim based upon the Seventh Circuit’s January 23, 2018, opinion in Hurt v. Wise,

880 F.3d 831 (7th Cir. 2018), which Plaintiff argues represents a significant change and/or

clarification of the law. When Hurt was decided, briefing on summary judgment was still ongoing.

The Court did not rule on summary judgment until September 28, 2018, but Plaintiff failed to take

any steps while the motion was pending to seek reconsideration. Plaintiff inexplicably waited ten

months after Hurt to file his Motion to Reconsider. In addition to Hurt, Plaintiff relies on Manuel

(issued in 2017) and Patrick (issued on July 17, 2018). But again, Plaintiff offers no explanation

for waiting months after Patrick was issued before filing a Motion to Reconsider.

       The Court finds that Plaintiff’s delay in filing his Motion to Reconsider is inexcusable. The

prejudice to Defendants is detailed in their Response to the Motion. (See Doc. 80, pp. 4-9).

Reinstating the fabrication of evidence claim at this late stage would significantly prejudice

Defendants. To fairly litigate Count II, the Court would need to reopen discovery and allow the

parties to file subsequent dispositive motions. This would add more time to the resolution of this

case, which is already more than four years old. As a result, this Court finds that Plaintiff’s Motion

to Reconsider is untimely and unfairly prejudices the Defendants.



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        II.    Plaintiff’s Motion Based on Hurt, Manuel, and Patrick Lacks Merit.

        Plaintiff’s Motion also lacks merit. Motions to reconsider serve a limited function of

correcting manifest errors of law or fact, presenting newly discovered evidence, or an intervening

change in the law. Cosgrove v. Bartolotta, 150 F.3d 729, 732 (7th Cir. 1998). This is not the case

here.

        Based on Hurt, Manuel, and Patrick, Plaintiff argues this Court’s prior Orders dismissing

his claim should be vacated because the law does not require false police reports to be admitted at

trial to establish a constitutional violation. (Doc. 78 at 3). Plaintiff also argues the allegedly

fabricated evidence furthered the prosecution before and during trial even though the actual police

reports were not admitted as exhibits at trial. Id. at 4. For instance, Plaintiff asserts Meeks

approached an Assistant State’s Attorney and advised the ASA of his version of the case. Meeks

recommended a grand jury investigation based on his claim that the Coles told vastly different

stories. As a result, Plaintiff claims Meeks furthered the prosecution. Id.

        Defendants filed supplemental authority in support of their Response to Plaintiff’s Motion

to Reconsider. Defendants directed the Court’s attention to Lewis v. City of Chicago, 914 F.3d 472

(7th Cir. 2019), in which the Seventh Circuit overruled its prior decision in Hurt v. Wise, 880 F.3d

831 (7th Cir. 2018). In Hurt, the Seventh Circuit held that pretrial detention claims allegedly based

upon fabricated evidence were to be analyzed under the due process clause of the Fourteenth

Amendment. However, in Lewis, the Court overruled its previous decision and held a section 1983

claim for wrongful pretrial detention based on fabricated evidence rests exclusively on the Fourth

Amendment. Defendants argue the Plaintiff can no longer rely on Hurt to challenge this Court’s

dismissal of his section 1983 fabrication of evidence claim.




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       Once a trial has occurred, the Fourth Amendment drops out, and a person challenging the

sufficiency of the evidence to support both a conviction and any ensuing incarceration does so

under the Due Process Clause of the Fourteenth Amendment. Manuel, 137 S. Ct. at 929, n. 8. “A

police officer who manufactures false evidence against a criminal defendant violates due process if

that evidence is later used to deprive the defendant of her liberty in some way.” Whitlock, 682 F.3d

at 580 (emphasis added). The italicized phrase is the key – to violate due process, the falsified

evidence must have “involved not merely the fabrication, but the introduction of the fabricated

evidence at the criminal defendant’s trial. For if the evidence hadn’t been used against the

defendant, he would not have been harmed by it, and without a harm there is, as we noted earlier,

no tort.” Fields v. Wharrie, 740 F.3d 1107, 1114 (7th Cir.2014); see also Saunders–El v.

Rohde, 778 F.3d 556, 560 (7th Cir. 2015) (“[A] police officer who manufactures false evidence

against a criminal defendant violates due process if that evidence is later used to deprive the

defendant of [his] liberty in some way.”) (internal quotation marks omitted).

       Whitlock and Fields, which this Court relied upon as a basis for dismissing Count II, remain

controlling law. (Doc. 54 at 7). Plaintiff contends Patrick v. City of Chicago, 2018 WL 3438942

(N.D. Ill. July 17, 2018), clarified the law and explained that after Manuel and Hurt, the

“contention that the fabricated evidence must be used at trial in order to establish a constitutional

violation is unpersuasive.” Id. at *26. Patrick, an unpublished Northern District decision, only

clarifies the holdings in Manuel and Hurt. The Court finds that Hurt – which has now been

overruled by Lewis – Manuel, and Patrick have not created a change or clarification of the law that

makes clear the Court’s earlier ruling was erroneous. See Santamarina v. Sears, Roebuck & Co.,

466 F.3d 570, 571-72 (7th Cir. 2006); Bank of Waunakee, 906 F.2d at 1191 (reconsideration may




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be granted if there has been a controlling or significant change in the law since the submission of

the issue to the court). Accordingly, Plaintiff’s Motion to Reconsider is DENIED.

                                        CONCLUSION

       For the reasons stated above, Plaintiff Steven Cole’s Motion to Reconsider Dismissal of

Count of Second Amended Complaint Alleging Fabrication of Evidence (Doc. 78) is DENIED.



       ENTERED this 1st day of March 2019.



                                                            s/ Michael M. Mihm
                                                            Michael M. Mihm
                                                            United States District Judge




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